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  1             DECLARATION OF SUPERVISORY SPECIAL AGENT JESSIE MURRAY

  2       I, Supervisory Special Agent Jessie Murray, declare as follows:
  3        1.     I am a Supervisory Special Agent with the FBI.
  4        2.     On May 20, 2021, the FBI initiated administrative
  5   forfeiture proceedings as to particular identified boxes' contents,
  6   including about 350 boxes containing currency like Coe's box number
  7   904 plus boxes housing other valuable assets, by sending a written
  8   notice to U.S. PrivQte Vaults and other persons the FBI coulp
  9   identify as having a potential interest in particular boxes.       The
 10   notice advised of the FBI's commencement of the administrative
 11   forfeiture proceedings for specific boxes' contents and sets forth
 12   how interested persons can submit a petition for remission or claim
 13   thereto.    The government will also be posting similar notices on the
 14   internet at www.forfeiture.gov.    Attached hereto as Exhibit A is a
 15   true and correct redacted copy of the notice of seizure of property
 16   and initiation of administrative forfeiture proceedings sent by the
 17   FBI on May 20, 2021 to U.S. Private Vaults, and page 5 of the notice
 18   reflects the $914,700 in U.S. currency seized from box number 904.
 19   The unredacted version of the notice lists each asset by Asset ID
 20   number (such as 21-FBI-003084 for box number 904) and the items
 21   seized (such as $914,700 for box number 904).
 22        I declare under penalty of perjury under the laws of the United
 23   States of America that the foregoing is true and correct.
 24        Executed in Los Angeles, California, on May 26, 2021.
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